Case 1:24-cr-00051-AMD              Document 58       Filed 11/19/24   Page 1 of 13 PageID #: 282




                                 UNITED STATES DISTRICT COURT
                                 EASTERN DISTRICT OF NEW YORK

 -------------------------------------------------X
 UNITED STATES OF AMERICA,

                           v.                                          24-CR-51 (AMD)

 MARKEL WASHINGTON,

                   Defendant.
 -------------------------------------------------X




                                    SENTENCING MEMORANDUM
                                ON BEHALF OF MARKEL WASHINGTON




 Elena Fast, Esq.
 The Fast Law Firm, P.C.
 521 Fifth Avenue, 17 Floor
 New York, New York 10175
 Phone: (212) 729-9494
 Email: elena@fastlawpc.com
 Counsel for Markel Washington
Case 1:24-cr-00051-AMD         Document 58        Filed 11/19/24     Page 2 of 13 PageID #: 283




   I.   PRELIMINARY STATEMENT

        Mr. Markel Washington (hereinafter “Mr. Washington”) requests that this Court consider

 all the factors contained herein and decide on a sentence that is sufficient, but not greater than

 necessary, to accomplish the stated objectives found in 18 U.S.C. § 3553(a). The Defense

 respectfully submits that a sentence of one year and one day of incarceration, followed by two

 years of supervised release, is sufficient, but no greater than necessary to achieve the statutory

 goals of sentencing.



  II.   PROCEDURAL HISTORY

        On February 1, 2024 an Indictment was filed in the Eastern District of New York

 charging Mr. Washington and his co-defendants with Conspiracy to Commit Bank Fraud and

 Wire Fraud in violation of 18 U.S.C. § 1349, Bank Fraud in violation of 18 U.S.C. § 1344 and 18

 U.S.C. § 2 and Aggravated Identity Theft in violation of 18 U.S.C. §§ 1028A(a)(1) and (b), and

 §1028A(c)(5) and §2.

        On February 7, 2024, Mr. Washington was arrested by agents from the United States

 Postal Inspection Service (hereinafter “USPIS”). PSR ¶ 12.           On August 13, 2024, Mr.

 Washington appeared before Your Honor and pleaded guilty pursuant to a written plea agreement

 to Count Two of the Indictment, Bank Fraud in violation of 18 U.S.C. §1344 and 18. U.S.C. §2.

 PSR ¶ 1. Count Two charges Mr. Washington and his co-defendants with executing, and

 attempting to execute, a scheme and artifice to defraud Bank-1, the deposits of which are insured

 by the Federal Deposit Insurance Corporation (hereinafter “FDIC”), and to obtain moneys,

 funds, credits and other property owned by and under the custody and control of, Bank-1 by




                                                 1
Case 1:24-cr-00051-AMD          Document 58        Filed 11/19/24      Page 3 of 13 PageID #: 284




 means of materially false and fraudulent pretenses, representations and premises in June of 2023.

 Id. Mr. Washington is scheduled to appear for sentencing on December 3, 2024.



 III.   LEGAL STANDARDS

         Under 18 U.S.C. § 3553(a), sentences shall be “sufficient, but not greater than necessary”

 to achieve the basic goals of retribution, rehabilitation, specific and general deterrence. To arrive

 at such a sentence, district courts are directed to consider: (1) the nature and circumstances of the

 offense and the history and characteristics of the offender; (2) the need for the sentence imposed

 to provide just punishment, deterrence, and needed educational and vocational training; (3) the

 kinds of sentences available; (4) the Guidelines-range and any pertinent policy statements issued

 by the Sentencing Commission; (5) the need to avoid unwarranted sentence disparities among

 similarly situated defendants; and (6) the need to provide restitution. See 18 U.S.C. § 3553(a). In

 every case, the sentencing court “must make an individual assessment based on the facts

 presented.” Gall v. United States, 552 U.S. 38, 50 (2007)

        Rather than relying on the Guidelines, a sentencing court must make an individualized

 assessment as to the appropriate sentence based on the facts presented and in light of each of the

 factors set forth in § 3553(a). See United States v. Cavera, 550 F.3d 180, 188 (2d Cir. 2008) (“A

 sentencing judge has very wide latitude to decide the proper degree of punishment for an

 individual offender and a particular crime.”). While the Court must calculate the applicable

 Sentencing Guidelines range, “[t]he Guidelines are not only not mandatory on sentencing courts;

 they are also not to be presumed reasonable.” Nelson v. United States, 555 U.S. 350, 352 (2009).

        A sentencing court is unencumbered in its ability “to consider every convicted person as

 an individual and every case as a unique study in the human failings that sometimes mitigate,




                                                  2
Case 1:24-cr-00051-AMD          Document 58        Filed 11/19/24   Page 4 of 13 PageID #: 285




 sometimes magnify, the crime and the punishment to ensue.” Gall v. United States, 552 U.S. 38,

 53 (2007) (quoting Koon v. United States, 518 U.S. 81 (1996)). To conduct an individualized

 assessment, the Sentencing Reform Act provides that “[n]o limitation shall be placed on the

 information concerning the background, character, and conduct of a person convicted of an

 offense which a court of the United States may receive and consider for the purpose of imposing

 an appropriate sentence.” 18 U.S.C. § 3661. This right is fundamental to our sentencing process

 and has been recently affirmed by the United States Supreme Court. See Concepcion v. United

 States, 142 S.Ct. 2389, 2398-99 (2022) (quoting Dean v. United States, 581 U.S. 62, 66 (2017))

 (“There is a long and durable tradition that sentencing judges enjo[y] discretion in the sort of

 information they may consider at an initial sentencing proceeding”) (internal quotation marks

 omitted).

        Consistent with this principle, § 3553(a) requires sentencing courts to consider not only

 the advisory Guidelines range, but also the facts of a specific case through the lens of seven

 factors. See 18 U.S.C. § 3553(a)(1)-(7). Against the backdrop of these factors, Mr. Washington

 respectfully submits that a variance is warranted in his case.



 IV.    NATURE AND CIRCUMSTANCES OF THE OFFENSE

        Mr. Washington was part of a fraudulent scheme to deposit a U.S. Treasury check in the

 amount of $125,386.81 (hereinafter the “Check”), made out to “Victim-1”, a CJA lawyer. PSR ¶

 6. The Check was compensation for attorney services for the representation of an indigent

 defendant pursuant to the Criminal Justice Act in a federal criminal prosecution. PSR ¶ 5-6.

 Investigation revealed that one of Mr. Washington’s co-defendants stole Victim-1’s identity and

 “creat[ed] fraudulent identification documents containing [Victim-1’s] personal identifiers along




                                                  3
Case 1:24-cr-00051-AMD              Document 58          Filed 11/19/24        Page 5 of 13 PageID #: 286




 with [another co-Defendant’s] photograph.” PSR ¶ 8. Mr. Washington’s other co-defendant

 opened an account in Victim-1’s name using a fraudulent driver’s license and attempted to

 deposit the check without Victim-1’s authorization. PSR ¶ 10. Mr. Washington accessed said

 bank account online to check on the status of the check deposit. Id. Mr. Washington’s phone was

 used to place multiple calls to the bank to check on the status of the deposit. Id. Additionally, Mr.

 Washington possessed “four photographs of [co-defendant] that were included on the fraudulent

 New Jersey driver’s license containing [Victim-1’s] name and birthdate that were submitted to

 Bank-1” on his iCloud. Id.

         The Department of Treasury “was able to cancel the stolen check originally issued to

 [Victim-1], upon learning of the fraudulent scheme, and issued [Victim-1] a replacement check.”

 PSR ¶ 75. Nevertheless, it took approximately six months for Victim-1 to receive a replacement

 check. PSR ¶ 16. Additionally, Victim-1 spent a large amount of time with credit agencies, the

 banks, social security administration, the Office of Defender Services, completing multiple fraud

 alerts for protection, and responding to unauthorized uses of her social security number; time that

 would have otherwise been dedicated to working on her CJA cases. Id.

         Mr. Washington is incredibly remorseful for his conduct. As he states in his letter, he is

 “profoundly sorry for [his] actions and for the hard and inconvenience he caused [Victim-1].

 [He] had absolutely no right to do what [he] did and [he] is very ashamed and embarrassed.”1

 Defense Exhibit A – Letter from Mr. Washington at 1. Mr. Washington very much regrets what he

 did and feels terrible for the “tremendous amount of pain and trouble that [he has] caused

 [Victim-1].” He now understands that “identity theft is not a victimless crime and that it can

 wreak havoc on a person’s life and it takes a lot of time and perseverance to fix the problem.” Id.


 1
  Mr. Washington references Victim-1 by name in his letter. Mr. Washington learned Victim-1’s name prior to my
 appointment as his CJA Attorney or review of any discovery.


                                                        4
Case 1:24-cr-00051-AMD         Document 58       Filed 11/19/24      Page 6 of 13 PageID #: 287




 at 2. Going through his own federal criminal case, Mr. Washington now much better understands

 the importance of the work that defense attorneys assigned through the Criminal Justice Act do

 for their indigent clients. With this newfound understanding, Mr. Washington has come to greatly

 respect CJA attorneys and “all the hard work, expertise, and vast amount of knowledge in

 dealing with matters such as the one [he] got [himself] involved with” and has “great

 appreciation for how hard CJA attorneys have to work.” Id. at 3.


            A. Guidelines Calculations

        Pursuant to a written plea agreement dated August 6, 2024, the parties stipulated to the

 following Guidelines calculations:

               Base offense level is 7 because the Defendant (U.S.S.G. § 2B1.1(a)(1))

               +       8 level increase because the loss was more than $95,000 (U.S.S.G. §

               2B1.1(b)(1)(E))

               +       2 level increase because the offense involved the use of an unauthorized

               access device (U.S.S.G. § 2B1.1(b)(11))

                –      2 level decrease because Mr. Washington has clearly demonstrated

                       acceptance of responsibility (USSG §3E1.1(a))

               –    1 level decrease because Mr. Washington gave timely notice to of his

               intention to plead guilty, thereby permitting the Government to avoid preparing

               for trial and the Court to allocate its resources efficiently (USSG §3E1.1(a))

 Total Offense Level: 14. Pursuant to the sentencing table in USSG Ch. 5 Pt. A, based on a Total

 Offense Level of 14 and a Criminal History Category of I, the Guidelines range is 15 to 21

 months imprisonment. Plea Agreement at 2-3.




                                                5
Case 1:24-cr-00051-AMD         Document 58        Filed 11/19/24     Page 7 of 13 PageID #: 288




  V.    THE HISTORY AND CHARACTERISTICS OF MR. WASHINGTON

        The significance of the first § 3553 factor is based on its comprehension that a

 consideration of a defendant’s criminal conduct cannot disregard the life he has led beyond his

 crime. See United States v. Adelson, 441 F. Supp. 2d 506, 513-14 (S.D.N.Y. 2006) (Rakoff, J.)

 (“But, surely, if ever a man is to receive credit for the good he has done, and his immediate

 misconduct assessed in the context of his overall life hitherto, it should be at the moment of his

 sentencing, when his very future hangs in the balance”). In support of his history and

 characteristics under 18 U.S.C. § 3553(a)(1), Mr. Washington submits a letter to the Court on his

 own behalf (Defense Exhibit A), in addition to letters from family and friends (Defense Exhibit

 B). Specifically, Mr. Washington submits letters of support from his mother Kareen Washington,

 his girlfriend Lynell Square, his MDC cellmate David Motovich, and his attorney on the Bronx

 County matter, Aurora Maoz, Esq.

        The letter from Mr. Motovich, age 49, describes how Mr. Washington showed him

 kindness and helped him cope with every aspect of incarceration as an older, first-time criminal

 defendant. Mr. Motovich, an Orthodox Jew whose religious beliefs require that he pray three

 times per day, follow a kosher diet, and observe the Sabbath, describes being moved by Mr.

 Washington’s support in fulfilling his religious observances. Mr. Motovich remarks that he “did

 not expect to find someone being held in the facility who genuinely thinks of others and looks

 out for their needs.” See Defense Exhibit B - Letter from David Motovich. Ms. Maoz expresses

 similar sentiments, describing Mr. Washington as “one of the most respectful clients I have

 served during my career as a public defender for the past ten years.” Defense Exhibit B – Letter

 from Aurora Maoz, Esq.




                                                 6
Case 1:24-cr-00051-AMD             Document 58        Filed 11/19/24          Page 8 of 13 PageID #: 289




               A. Tragedies During Mr. Washington’s Childhood

           By any standard, Mr. Washington had an unfathomably difficult upbringing. His mother,

 Kareen Williams had Mr. Washington at the age of 17 and made the difficult decision to leave

 Mr. Washington with her mother when he was only a few weeks old, so she could focus on her

 schooling. Defense Exhibit B – Letter from Kareen Washington. His father, Jamel Thompson,

 was incarcerated for a large part of Mr. Washington’s childhood on several state matters and two

 separate federal cases, which both involved robbery and the use of a firearm during a crime of

 violence. PSR ¶ 41.

           Since age 5, Mr. Washington was raised by his grandmother, Sharon Washington. Ms.

 Washington was awarded custody of Mr. Washington and his siblings after the children’s school

 reported to the Administration for Children’s Services (ACS) that faculty had observed welt

 marks on the children’s backs while they were in the custody of their father. PSR ¶ 48-49.

 Consequently, Mr. Washington and his siblings were placed in foster care with another family for

 30 days while Ms. Washington got clearance for the children to be placed with her. Defense

 Exhibit B – Letter from Kareen Washington.

           On March 16, 2003, when Mr. Washington was just 7 years old, his two year old baby

 brother, Jaylen Robinson, was killed by his babysitter,2 while his mother and stepfather were out

 of their home. PSR ¶ 42. The babysitter beat and stabbed Jaylen because he had an ear infection

 and would not stop crying. PSR ¶ 42. Jaylen’s death led to Mr. Washington acting out in school

 and lashing out. Defense Exhibit B – Letter from Kareen Washington.

           When Mr. Washington was 15 years old, he lost his cousin to gun violence, and took that

 loss very hard. Id. Then, when Mr. Washington was 16 years old, his younger brother, Marquis,



 2
     See https://www.nydailynews.com/2007/06/12/17-years-for-killer-sitter/


                                                      7
Case 1:24-cr-00051-AMD          Document 58        Filed 11/19/24      Page 9 of 13 PageID #: 290




 was shot and killed at the age of 15 in the lobby of their apartment building.3 PSR ¶ 46. News

 reports indicate that Marquis was shot multiple times in the chest and once in the head.4 The

 shooter was never apprehended or prosecuted for Marquis’ death. PSR ¶ 46. Mr. Washington

 believed that he contributed to Marquis’ death because “they got into a little argument and [Mr.

 Washington] told Marquise to go outside and when he did, he got shot 11 times.” Defense Exhibit

 B – Letter from Kareen Washington.

        The trauma sustained as the result of Marquis’ and Jaylen’s tragic and untimely deaths

 greatly impacted Mr. Washington. He dropped out of Winthrop High School in Brooklyn during

 the 11th grade because “other students and faculty were continuously asking him about his

 brother’s death, which became too much pressure for [Mr. Washington] to handle.” PSR ¶ 58.



            B. Hardships of Incarceration on Mr. Washington’s Family

        Mr. Washington’s incarceration has posed a significant hardship on his family. Mr.

 Washington has a 4-year-old son, Markel Washington, Jr. with Ameena Darden. He is also

 involved as a father figure to Mr. Darden’s child from a prior relationship. He has assumed a

 similar role with his girlfriend Lynell Square’s children from a prior relationship, aged 7 and 10,

 as their biological father is not in their lives. PSR ¶ 50. As Mr. Washington states in his letter,

 raising a child with two parents is hard, but raising a child with one parent is even harder.

 Defense Exhibit A - Letter from Mr. Washington. Mr. Washington states that “it has been

 extremely difficult for Ms. Darden to care for the children on her own” without Mr.

 Washington’s assistance. PSR ¶ 47.


 3
  https://www.nydailynews.com/2011/12/24/15-year-old-gunned-down-in-lobby-of-brooklyn-housing-proj
 ect-shot-8-times-in-chest/
 4
  https://www.dailymail.co.uk/news/article-2078405/Teen-gunned-apartment-building-Christmas-Eve--just
 -feet-cousin-killed-Thanksgiving-year.html


                                                  8
Case 1:24-cr-00051-AMD        Document 58       Filed 11/19/24      Page 10 of 13 PageID #: 291




        Ms. Square’s letter details how helpful Mr. Washington is with her children and

 household chores: “[h]e loves my kids just as if they were his own. He helps them with

 homework, takes them to school, picks them up from school, and takes them out. He’s has

 definitely been a big help for me.” Defense Exhibit B - Letter from Lynell Square. Mr.

 Washington’s mother, Kareen Washington also explains that Markel helps her out with his little

 sister by picking her up from school and helping run errands for Ms. Washington when she was

 unable to do so. Defense Exhibit B – Letter from Kareen Washington.



            C. Conditions at MDC

        Mr. Washington’s entire term of pretrial detention, which started on February 7, 2024, has

 been spent at the Metropolitan Detention Center, Brooklyn (hereinafter “MDC”). PSR ¶ 51.

 While at MDC, Mr. Washington has been incarcerated in Unit 61, colloquially referred to as

 “Gangland.” Mr. Washington is one of only several non-gang affiliated inmates in the unit. As

 the Court is well aware, MDC is plagued with a plethora of issues, including but not limited to:

 constant lockdowns, lack of medical and mental health services, inmate-on-inmate and

 inmate-on-guard violence, and stale, inedible if not outright rotten food. As the Honorable U.S.

 District Court Judge Gary Brown stated United States v. Colucci, “sentencing arguments based

 on the reportedly deplorable conditions at MDC have become so commonplace that—quite

 understandably—counsel routinely raise the issue in a shorthand fashion, as lawyers and judges

 have grown weary of extended articulation.” United States v. Colucci, No. 23-CR-417 (GRB)

 (E.D.N.Y. Aug. 5, 2024).

        In a published Opinion and Order dated January 4, 2024, the Hon. District Court Judge

 Jesse M. Furman of the Southern District of New York recounted the dreadful history of the




                                                9
Case 1:24-cr-00051-AMD            Document 58          Filed 11/19/24        Page 11 of 13 PageID #: 292




 federal facility, identifying three primary issues of concern: (1) “inmates at the MDC spend an

 inordinate amount of time on “lockdown” — that is, locked in their cells, prohibited from

 leaving for visits, calls, showers, classes, or exercise,” (2) “the MDC is notoriously and, in some

 instances, egregiously slow in providing necessary medical and mental health treatment to

 inmates,” and (3) “the MDC’s physical conditions have long been problematic.” United States v.

 Chavez, No. 22-CR-303 (JMF) (S.D.N.Y. Jan. 4, 2024), ECF No. 31. Some inmates have

 experienced lockdowns for over 50% of their time spent at MDC, an extremely troubling

 development considering “confining inmates to their cells is, for at least some inmates,

 tantamount to solitary or near-solitary confinement, a practice that is increasingly viewed as

 inhumane,” Id. at 10. According to Judge Furman, “[i]t has gotten to the point that it is routine

 for judges in both this District and the Eastern District to give reduced sentences to defendants

 based on the conditions of confinement in the MDC.” Id. at 2-3.

         As recently as September 30, 2024, the U.S. Attorney’s Office announced charges against

 nine individuals in five separate cases addressing violence at MDC Brooklyn.5 Specifically, four

 MDC inmates were charged with murder of another inmate, another inmate was charged with

 attempted murder in a federal detention facility and possession of contraband in prison, and two

 other inmates were charged with assault in a federal detention facility, another inmate was

 charged with assaulting a federal officer.

         In Defense Exhibit C, Mr. Washington provides the following modified operations orders

 to corroborate the extremely restrictive conditions that he has been subjected to at MDC:

             1. March 21, 2024 - modified operations, a full lockdown, suspension of social
                  visits due to assault on staff;

 5

 https://www.justice.gov/usao-edny/pr/federal-charges-announced-against-inmates-violent-crimes-committed-metrop
 olitan


                                                      10
Case 1:24-cr-00051-AMD         Document 58       Filed 11/19/24      Page 12 of 13 PageID #: 293




            2. June 7, 2024 - modified operations and a full lockdown as a result of inmate’s
                death;
            3. [date unknown] - modified operations and a full lockdown for Unit 61 until July
                17, 2024 due to multiple inmate disturbances;
            4. July 17, 2024 - modified operations, suspension of social visits and a full
                lockdown as a result of another inmate’s death;
            5. October 28, 2024 - modified operations due to an inter-agency operation
                suspending use of telephones, computers, and social visits and limiting the use of
                showers; and
            6. October 29, 2024 - water outage on the west side of the facility.


        Mr. Washington’s experience at MDC has been no exception to the innumerable horror

 stories emerging from the facility. In his letter to the Court, he details inhumane conditions,

 including: lockdowns, violence, and limited access to showers and running water. In determining

 Mr. Washington’s sentence, the Defense respectfully requests that Your Honor take into account

 the conditions of Mr. Washington’s pretrial confinement.


 VI.    THE STATUTORY GOALS OF SENTENCING ARE SATISFIED WITH A
        SENTENCE OF 1 YEAR AND 1 DAY AND TWO YEARS OF POST-RELEASE
        SUPERVISION

        Under 18 U.S.C. § 3553(a)(2), the sentencing court is required to consider the need of the

 sentence imposed (a) to reflect the seriousness of the offense, to promote respect for the law, and

 to provide just punishment for the offense; (b) to afford adequate deterrence to criminal conduct;

 (c) to protect the public from further crimes of the defendant; and (d) to provide the defendant

 with needed educational or vocational training, medical care, or other correctional treatment in

 the most effective manner. Another factor that must be considered in determining the appropriate

 sentence is “the need to provide restitution to any victims of the offense.” 18 U.S.C. §

 3553(a)(7). The Defense respectfully submits that in Mr. Washington’ case, the goals of


                                                 11
Case 1:24-cr-00051-AMD        Document 58       Filed 11/19/24      Page 13 of 13 PageID #: 294




 sentencing are accomplished by a sentence of 1 year and 1 day and two years of post-release

 supervision.



 VII.   CONCLUSION

        For all the foregoing reasons, Mr. Washington respectfully requests that this Court

 exercise its reasoned judgment and impose a sentence that is sufficient, but not greater than

 necessary to comply with the statutory objectives of sentencing, which the Defense submits is a

 sentence of a year and a day followed by two years of supervised release.



 Dated: November 19, 2024
        New York, New York

 Respectfully submitted,

 s/ Elena Fast
 Elena Fast, Esq.
 Counsel for Markel Washington
 The Fast Law Firm, P.C.
 521 Fifth Avenue, 17 floor
 New York, NY 10175
 Phone: (212) 729-9494
 Email: elena@fastlawpc.com




                                                12
